                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 1 of 26 Page ID #:216



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                                                                                      Attorneys for Defendant
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 Mortgage Electronic Registration Systems, Inc.
                                                                                   12
                                                                                                             UNITED STATES DISTRICT COURT
REED SMITH LLP




                                                                                   13
                                                                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                                   14
                                                                                                  WESTERN DIVISION – FIRST STREET U.S. COURTHOUSE
                                                                                   15
                                                                                      ROBINSON, DANIEL W.; ROBINSON,              Case No.: 2:19-cv-02185-PA-MRW
                                                                                   16 DARLA J.; CABRERA, MIGUEL A.
                                                                                   17                    Plaintiffs,              DEFENDANT MORTGAGE
                                                                                                                                  ELECTRONIC REGISTRATION
                                                                                   18       vs.                                   SYSTEMS INC.’S NOTICE OF
                                                                                                                                  MOTION AND MOTION TO
                                                                                   19 MORTGAGE ELECTRONIC                         DISMISS PLAINTIFFS’
                                                                                      REGISTRATION SYSTEMS, INC.,                 COMPLAINT PURSUANT TO
                                                                                   20 UNITED PACIFIC MORTGAGE;                    FED. R. CIV. P. 12(B)(6);
                                                                                      UNIVERSAL AMERICAN MORTGAGE                 MEMORANDUM OF POINTS
                                                                                   21 COMPANY OF CALIFORNIA; and                  AND AUTHORITIES
                                                                                      DOES 1 through 25,
                                                                                   22                                             Date: May 6, 2019
                                                                                                      Defendants.                 Time: 1:30 p.m.
                                                                                   23                                             Place: 9A, 9th Floor
                                                                                   24                                             Complaint Filed: October 30, 2018
                                                                                   25                                             Honorable Judge Percy Anderson
                                                                                                                                  Magistrate Judge Michael R. Wilner
                                                                                   26
                                                                                   27
                                                                                   28
                                                                                         Case No.: 2:19-cv-02185-PA-MRW
                                                                                         DEFENDANT’S NOTICE OF MOTION; MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                         MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 2 of 26 Page ID #:217



                                                                                    1 TO PLAINTIFFS AND THEIR COUNSEL OF RECORD:
                                                                                    2        PLEASE TAKE NOTICE that on May 6, 2019 at 1:30 p.m., in Courtroom 9A,
                                                                                    3 9th Floor in the above-entitled Court located at 350 W 1st Street, Los Angeles, CA
                                                                                    4 90012-4565, Defendant Mortgage Electronic Registration Systems, Inc. (“MERS” or
                                                                                    5 “Defendant”) will and hereby does move this Court pursuant to Federal Rule of Civil
                                                                                    6 Procedure 12(b)(6) for an order dismissing the Complaint of Plaintiffs Daniel W.
                                                                                    7 Robinson, Darla J Robinson, and Miguel A. Cabrera (collectively, “Plaintiffs”), and
                                                                                    8 each claim for relief alleged therein against MERS, on the ground that the Complaint
                                                                                    9 fails to state any claim upon which relief can be granted.
                                                                                   10        This motion is made following a meet and confer with Plaintiffs’ counsel
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                                                                                   11 pursuant to L.R. 7-3. Specifically, Defendant removed this action on Friday, March 22,
                                                                                   12 2019. On Monday, March 25, 2019, Defendant’s counsel called Plaintiffs’ counsel via
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                                                                                   13 telephone to meet and confer but was unable to speak with counsel. Defendant’s
                                                                                   14 counsel sent a follow-up e-mail correspondence asking counsel whether he was
                                                                                   15 available to meet and confer. Plaintiffs responded by phone on Wednesday March 27,
                                                                                   16 2019, leaving a brief message. The Parties met and conferred at length by telephone
                                                                                   17 regarding the issues addressed herein on March 28, 2019. Further, Defendant’s counsel
                                                                                   18 previously met and conferred on September 7, 2018, in a predecessor action with the
                                                                                   19 same parties and addressing these same issues.
                                                                                   20        Defendant’s Motion is based upon this Notice of Motion, the Memorandum of
                                                                                   21 Points and Authorities attached hereto, the operative Complaint, all matters of which
                                                                                   22 this Court may properly take judicial notice, and any other evidence or oral argument
                                                                                   23 as the Court may consider in connection with this Motion to Dismiss.
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                                                                                        Case No.: 2:18-cv-08209-PA-MRW          –i–
                                                                                          DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                          MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 3 of 26 Page ID #:218



                                                                                    1 DATED: March 29, 2019                     REED SMITH LLP
                                                                                    2
                                                                                    3                                          By: /s/Le T. Duong
                                                                                                                                Abraham Colman (SBN 146933)
                                                                                    4                                           Raffi Kassabian (SBN 260358)
                                                                                    5                                           Le T. Duong (SBN 297662)
                                                                                                                                Attorneys for Defendant Mortgage
                                                                                    6                                           Electronic Registration Systems, Inc.
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                 A limited liability partnership formed in the State of Delaware




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                                                                                        Case No.: 2:18-cv-08209-PA-MRW      – ii –
                                                                                          DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                          MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 4 of 26 Page ID #:219



                                                                                    1                                         TABLE OF CONTENTS
                                                                                    2                                                                                                              Page
                                                                                    3 I.       INTRODUCTION ............................................................................... 1
                                                                                    4 II.      STATEMENT OF FACTS .................................................................. 1
                                                                                    5          A.      The Instant Lawsuit ................................................................... 1
                                                                                    6          B.      Prior Litigation Between Plaintiffs and MERS ........................ 3
                                                                                    7                  1.       Prior Litigation Between the Robinsons and MERS ...... 3
                                                                                    8                  2.       Cabrera’s Prior Quiet Title Action and Judgment .......... 5
                                                                                    9                  3.       Plaintiffs’ Prior Action for Declaratory Judgment ......... 6
                                                                                   10 III.     LEGAL STANDARD ......................................................................... 7
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 IV.      LEGAL ARGUMENT ........................................................................ 7
                                                                                   12          A.      Res Judicata Bars the Entire Complaint.................................... 8
REED SMITH LLP




                                                                                   13          B.      Plaintiffs’ Claims Fail to Support Declaratory Relief ............ 11
                                                                                   14          C.      California Law Is Clear that MERS Is the Beneficiary and
                                                                                                       Nominee Under Both Deeds of Trust ..................................... 14
                                                                                   15
                                                                                               D.      The Deeds of Trust Alone Provide the Predicate for a Dismissal
                                                                                   16                  in Favor of MERS ................................................................... 16
                                                                                   17 V.       CONCLUSION ................................................................................. 17
                                                                                   18
                                                                                   19
                                                                                   20
                                                                                   21
                                                                                   22
                                                                                   23
                                                                                   24
                                                                                   25
                                                                                   26
                                                                                   27
                                                                                   28
                                                                                        Case No.: 2:18-cv-08209-PA-MRW                       – iii –
                                                                                            DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                            MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 5 of 26 Page ID #:220



                                                                                    1                                           TABLE OF AUTHORITIES
                                                                                    2                                                                                                                   Page(s)
                                                                                    3
                                                                                        Cases
                                                                                    4
                                                                                        Advanced Cardiovascular Sys., Inc. v. Scimed Life Sys., Inc.,
                                                                                    5
                                                                                          988 F.2d 1157 (Fed. Cir. 1993) ............................................................................... vii
                                                                                    6
                                                                                        Am. Rivers v. Nat’l Marine Fisheries Serv.,
                                                                                    7     126 F.3d 1118 (9th Cir. 1997) ................................................................................. xii
                                                                                    8
                                                                                      Ashcroft v. Iqbal,
                                                                                    9    129 S. Ct. 1937 (2009)............................................................................................. vii
                                                                                   10 Bell Atl. Corp. v. Twombly,
                                                                                         550 U.S. 544 (2007)...........................................................................................vii, xii
                 A limited liability partnership formed in the State of Delaware




                                                                                   11
                                                                                   12 Benson v. Ocwen Loan Servicing, LLC,
                                                                                         562 F. App’x 567 (9th Cir. 2014) ........................................................................... xiv
REED SMITH LLP




                                                                                   13
                                                                                   14 Cabrera v. GSR Mortgage Loan Trust 2005-AR2,
                                                                                         No. KC066701 (Los Angeles Sup. Ct.) ..................................................................... v
                                                                                   15
                                                                                      Calvo v. HSBC Bank USA, N.A.,
                                                                                   16
                                                                                         130 Cal. Rptr. 3d 815 (Cal. Ct. App. 2011)............................................................. xv
                                                                                   17
                                                                                      Cervantes v. Countrywide Home Loans, Inc.,
                                                                                   18    656 F.3d 1034 (9th Cir. 2011) ............................................................................... xvii
                                                                                   19
                                                                                      City of Cotati v. Cashman,
                                                                                   20    29 Cal. 4th 69 (2002) ................................................................................................ xi
                                                                                   21 Clegg v. Cult Awareness Network,
                                                                                   22    18 F.3d 752 (9th Cir. 1996) ............................................................................. vii, viii
                                                                                   23 Crowley v. Katleman,
                                                                                   24   8 Cal. 4th 666 .....................................................................................................viii, ix

                                                                                   25 E & J Gallo Winery v. Proximo Spirits, Inc.,
                                                                                         583 Fed. Appx. 632 (9th Cir. 2014) ......................................................................... xi
                                                                                   26
                                                                                   27 Erie R. Co. v. Tompkins,
                                                                                         304 U.S. 64 (1938).................................................................................................. xvi
                                                                                   28
                                                                                      Case No.: 2:18-cv-08209-PA-MRW                    – iv –
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 6 of 26 Page ID #:221



                                                                                    1 Fontenot v. Wells Fargo Bank, N.A.,
                                                                                    2   198 Cal.App.4th 256 (1st. Dist.2011)................................................. ix, xiii, xiv, xvi

                                                                                    3 Franklin v. U.S. Dep’t of Labor,
                                                                                         No. C 00-3190 SI, 2001 WL 793284 (N.D. Cal. July 9, 2001) (holding
                                                                                    4
                                                                                         the ruling was affirmed on appeal by the Ninth Circuit and constitutes
                                                                                    5    a final judgment for res judicata purposes.).............................................................. x
                                                                                    6 Gomes v. Countrywide Home Loans, Inc.,
                                                                                    7   192 Cal. App. 4th 1149, 121 Cal. Rptr. 3d 819 (2011) .................................... passim

                                                                                    8 Hollins v. Recontrust, N.A.,
                                                                                        No. CV 11-945 PSG PLAX, 2011 WL 1743291 (C.D. Cal. May 1,
                                                                                    9
                                                                                        2011) at *3 .............................................................................................................. xiv
                                                                                   10
                                                                                      Kimball v. Flagstar Bank F.S.B.,
                 A limited liability partnership formed in the State of Delaware




                                                                                   11   881 F. Supp. 2d 1209 (S.D. Cal. 2012) .................................................................... xi
                                                                                   12
                                                                                      Lane v. Vitek Real Estate Industries Group,
REED SMITH LLP




                                                                                   13   713 F. Supp. 2d. 1092 (E.D. Ca. 2010) .............................................................. xi, xv
                                                                                   14 Le Para Community Assn. v. Workers’ Comp. Appeals Bd.,
                                                                                   15    110 Cal. App. 4th 1161 (2003) ............................................................................... viii
                                                                                   16 Lynons v. Security Pacific Nat. Bank,
                                                                                         40 Cal App. 4th 1001 (1995) .................................................................................. viii
                                                                                   17
                                                                                   18 Mortg. Elec. Registration Sys., Inc. v. Robinson,
                                                                                         671 F. ......................................................................................................................... v
                                                                                   19
                                                                                      Mortg. Elec. Registration Sys., Inc. v. Robinson,
                                                                                   20
                                                                                         No. CV 13-7142 PSG ASX, 2015 WL 993319 (C.D. Cal. Feb. 27,
                                                                                   21    2015), aff’d, 671 F. App’x 562 (9th Cir. 2016)............................................... iv, v, ix
                                                                                   22 Mortg. Elec. Registration Sys. v. Robinson,
                                                                                   23   45 F. Supp. 3d 1207 (C.D. Cal. 2014) .................................................................... xiii
                                                                                   24 Mycogen Corp. v. Monsanto Co.,
                                                                                   25   28 Cal. 4th 888 (2002) ............................................................................................ viii

                                                                                   26 Navarro v. Block,
                                                                                        250 F.3d 729 (9th Cir. 2001) ................................................................................... vii
                                                                                   27
                                                                                   28
                                                                                        Case No.: 2:18-cv-08209-PA-MRW                                –v–
                                                                                            DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                            MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 7 of 26 Page ID #:222



                                                                                    1 Neitzke v. Williams,
                                                                                    2    490 U.S. 319 (1989)................................................................................................. vii

                                                                                    3 Pantoja v. Countrywide Home Loans, Inc.,
                                                                                         640 F. Supp. 2d 1177 (N.D. Cal. 2009) ..................................................................... v
                                                                                    4
                                                                                    5 Principal Life Ins. Co. v. Robinson,
                                                                                         394 F.3d 665 (9th Cir. 2005) .............................................................................. xi, xii
                                                                                    6
                                                                                      Robertson v. Dean Witter Reynolds, Inc.,
                                                                                    7
                                                                                         749 F.2d 530 (9th Cir. 1984) ................................................................................... vii
                                                                                    8
                                                                                      Robinson v. Countrywide Home Loans, Inc.,
                                                                                    9    199 Cal. App. 4th 42 (2011) ................................................................................... xiii
                                                                                   10
                                                                                      Saterbak v. JP Morgan Chase Bank, N.A.,
                 A limited liability partnership formed in the State of Delaware




                                                                                   11    245 Cal. App. 4th 808 ............................................................................................. xiv
                                                                                   12 Siliga v. Mortgage Elec. Registration Sys, Inc.,
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                                                                                   13     219, Cal. App. 4th 75,161 (Cal. Ct. App. 2013)...................................................... xv

                                                                                   14 Siliga v. Mortgage Elec. Registration Sys., Inc.,
                                                                                          219 Cal. App. 4th 75 (2d Dist. 2013) .............................................................xiv, xvii
                                                                                   15
                                                                                   16 Staniforth v. Judges’ Retirement System,
                                                                                          226 Cal. App. 4th 978 (2014) ................................................................................. viii
                                                                                   17
                                                                                      Stites v. Ross,
                                                                                   18
                                                                                          862 F.2d 875 (9th Cir. 1988) ..................................................................................... x
                                                                                   19
                                                                                      Yvanova v. New Century Mortgage Corp.,
                                                                                   20     365 P.3d 845, 199 Cal. Rptr. 3d 66 (2016).............................................. xiii, xiv, xvi
                                                                                   21
                                                                                      Zadrozny v. Bank of New York Mellon,
                                                                                   22     720 F.3d 1163 (9th Cir. 2013) ................................................................................. xv
                                                                                   23 Statutes
                                                                                   24
                                                                                      Cal. Civ. Code § 2924 .................................................................................................. xvi
                                                                                   25
                                                                                      Cal. Civil Code § 762.10 .......................................................................................... iv, vi
                                                                                   26
                                                                                   27 Cal. Civil Code §§ 2924-2924i .................................................................................... xiii
                                                                                   28 Code Civil Procedure § 1060 ...................................................................................... i, xi
                                                                                      Case No.: 2:18-cv-08209-PA-MRW                – vi –
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 8 of 26 Page ID #:223



                                                                                    1 Rules
                                                                                    2 Fed. R. Civ. P. 12(b)(6) ........................................................................................... vi, vii
                                                                                    3
                                                                                      Fed. R. Civ. P. 41(a)(1) .................................................................................................. vi
                                                                                    4
                                                                                      Regulations
                                                                                    5
                                                                                    6 Notice of Removal, March 22, 2019, Docket No. 1 .................................................. ii, vi
                                                                                    7
                                                                                    8
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                 A limited liability partnership formed in the State of Delaware




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                                                                                   27
                                                                                   28
                                                                                        Case No.: 2:18-cv-08209-PA-MRW                           – vii –
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 9 of 26 Page ID #:224



                                                                                    1                 MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                    2                                   I.     INTRODUCTION
                                                                                    3        Plaintiffs Daniel W. Robinson, Darla J. Robinson (the “Robinsons”), and Miguel
                                                                                    4 Cabrera’s (“Cabrera”) (collectively “Plaintiffs”) claims against Mortgage Electronic
                                                                                    5 Registration Systems Inc. (“MERS” or “Defendant”) for declaratory relief fail as a
                                                                                    6 matter of law. As a preliminary matter, Plaintiffs each personally executed Deeds of
                                                                                    7 Trust agreeing that MERS would be the nominee for the lender and the beneficiary
                                                                                    8 under their respective Deeds of Trust. Plaintiffs’ Complaint is woefully deficient as
                                                                                    9 their allegations that MERS is not a beneficiary or nominee simply do not assert an
                                                                                   10 “actual controversy relating to the legal rights and duties of the respective parties” based
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 upon which Plaintiff could make a request for declaratory relief under Code Civil
                                                                                   12 Procedure section 1060 and established case law.
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                                                                                   13        This lack of actual controversy is exacerbated as to the Robinsons since their
                                                                                   14 Deed of Trust has been released, rendering their Deed of Trust not functional, and their
                                                                                   15 claims moot. Plaintiffs’ Complaint cannot possibly be construed as stating a claim upon
                                                                                   16 which relief can be granted.
                                                                                   17        Even if Plaintiffs could overcome this threshold deficiency in their claims –
                                                                                   18 which they cannot – Plaintiffs personally signed their respective Deeds of Trust and
                                                                                   19 consequently agreed that MERS is a beneficiary, agent, and nominee in accordance with
                                                                                   20 well-settled California law. Plaintiffs’ claims fail for this reason alone. In fact, the
                                                                                   21 Central District has already decided the Robinsons’ claims fail on this basis as a matter
                                                                                   22 of law in prior lawsuits by the Robinsons against MERS. For these reasons, and as
                                                                                   23 more fully explained below, MERS respectfully requests this Honorable Court to
                                                                                   24 dismiss Plaintiffs’ complaint in its entirety with prejudice.
                                                                                   25                             II.        STATEMENT OF FACTS
                                                                                   26 A.     The Instant Lawsuit
                                                                                   27        On or about February 7, 2005, Plaintiffs Daniel W. Robinson and Darla J.
                                                                                   28
                                                                                        Case No.: 2:18-cv-08209-PA-MRW            –1–
                                                                                          DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                          MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 10 of 26 Page ID #:225



                                                                                     1 Robinson, husband and wife as joint tenants, signed a Deed of Trust as security for a
                                                                                     2 $999,950.00 mortgage loan, encumbering real property located at 19127 Romar Street,
                                                                                     3 Los Angeles, California 91324, which Deed of Trust was recorded in the Los Angeles
                                                                                     4 County Recorder’s Office on February 15, 2005, at 2005-0342544 (the “Robinson Deed
                                                                                     5 of Trust”). See Compl., Ex. A, ¶¶ 3, 201. The Robinson Deed of Trust names MERS
                                                                                     6 as “nominee for Lender and Lender’s successors and assigns. MERS is the beneficiary
                                                                                     7 under this Security Instrument.” Id. at page 1.
                                                                                     8         On or about October 19, 2004, Plaintiff Miguel A. Cabrera, a single man, signed
                                                                                     9 a Deed of Trust as security for a $390,700.00 mortgage loan, encumbering real property
                                                                                    10 located at 103 Crabapple Drive, Pomona, California 91767, which Deed of Trust was
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 recorded in the Los Angeles County Recorder’s Office on October, 29, 2004, at 2004-
                                                                                    12 2801028 (the “Cabrera Deed of Trust”). See Compl. Exh. C, ¶¶ 4, 23. The Cabrera
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                                                                                    13 Deed of Trust names MERS as “nominee for Lender and Lender’s successors and
                                                                                    14 assigns. MERS is the beneficiary under this Security Instrument.” Id. at page 2.
                                                                                    15         Plaintiffs filed the instant Complaint on October 30, 2018 (“Complaint” or
                                                                                    16 “Compl.”), and MERS was served with a summons on February 20, 2019
                                                                                    17 (“Summons”), attached collectively as Exhibit 1. See Summons at 1; see also Compl.
                                                                                    18 at 1. MERS timely removed this case on the basis of diversity jurisdiction on March
                                                                                    19 22, 2019.2 (Notice of Removal, March 22, 2019, Docket No. 1). The bare bones
                                                                                    20 Complaint requests declaratory relief in the form of two causes of action. See generally
                                                                                    21 Compl. Plaintiffs allege:
                                                                                    22         “Possessed and stated within the [Plaintiffs] relevant Deeds of Trusts
                                                                                    23
                                                                                         1 Plaintiffs’ Complaint in this action includes only select pages from the Deeds of Trust as
                                                                                    24 Exhibits A and C respectively. Plaintiffs’ Original Action included complete copies and
                                                                                    25 Defendant respectfully requests that this Court take judicial notice of the complete Deeds of
                                                                                       Trust as previously filed with the original complaint, including Exhibits A and C, filed
                                                                                    26 concurrently as RJN at Ex E.
                                                                                       2
                                                                                    27 The citizenship of Defendants United and Universal American are not relevant to the
                                                                                       diversity inquiry because they were fraudulently joined. See generally (Notice of Removal,
                                                                                    28 March 22, 2019, Docket No. 1.)
                                                                                         Case No.: 2:18-cv-08209-PA-MRW             –2–
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 11 of 26 Page ID #:226



                                                                                     1           currently on title and recorded against their respective real properties…are
                                                                                     2           two…provisions…the first of which states that ‘Mortgage Electronic
                                                                                     3           Registration Systems. Inc. (MERS) is the Beneficiary under this security
                                                                                     4           instrument.’.   The second is that ‘Mortgage Electronic Registration
                                                                                     5           Systems. Inc. (MERS) is a separate corporation that is acting solely as a
                                                                                     6           Nominee for Lender under and Lenders successors an assigns.”
                                                                                     7 Compl., ¶ 9. (emphasis omitted).
                                                                                     8           Plaintiffs allege that they signed their respective Deeds of Trust, however,
                                                                                     9 Plaintiffs’ Complaint includes no other facts to support their requests for declaratory
                                                                                    10 relief. Compl., ¶¶ 3, 4, 22, 26. Instead, Plaintiffs rely on legal theories, conclusions,
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 and a reference to an effaced declaration from a senior person who worked at the
                                                                                    12 Robinsons’ long defunct original lender, which purportedly states his opinion that
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                                                                                    13 MERS is not a beneficiary or agent of their company. See Compl., Exh. B, ¶ 2.
                                                                                    14 However, as Plaintiffs acknowledge, the Deeds of Trust that they executed stated:
                                                                                    15 MERS is “the Beneficiary under this security instrument” and MERS is “a Nominee for
                                                                                    16 Lender and Lender’s successors an assigns”. Compl., Ex. A. at page 1, Ex. C. at page
                                                                                    17 2, ¶ 7.
                                                                                    18 B.        Prior Litigation Between Plaintiffs and MERS
                                                                                    19           The instant action is part of Plaintiffs’ long litigation history in challenging
                                                                                    20 MERS’ role and authority. Plaintiffs have both individually filed lawsuits against
                                                                                    21 MERS praying for similar relief in the form of quiet title actions and have both lost.
                                                                                    22 Plaintiffs’ Counsel Allen D. West also represented the Robinsons in their prior action
                                                                                    23 against MERS in the Central District and Ninth Circuit and Cabrera in his state court
                                                                                    24 action. Plaintiffs also filed a nearly identical lawsuit, which was dismissed by this
                                                                                    25 Court.
                                                                                    26           1.    Prior Litigation Between the Robinsons and MERS
                                                                                    27           In January 2012 the Robinsons filed a civil action in the Los Angeles County
                                                                                    28
                                                                                         Case No.: 2:18-cv-08209-PA-MRW             –3–
                                                                                            DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                            MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 12 of 26 Page ID #:227



                                                                                     1 Superior Court, Robinson v. United Pacific Mortgage, case number PC052281 (the
                                                                                     2 “Robinson State Action”) to quiet title to the Property and expunge the Deed of Trust,
                                                                                     3 which was the subject of a subsequent federal lawsuit in in the Central District of
                                                                                     4 California, Mort. Elec. Registration Sys., Inc. v. Robinson, case number CV 13-7142
                                                                                     5 PSG ASX, affirmed by the Ninth Circuit (the “Robinson Federal Action”). Mortg. Elec.
                                                                                     6 Registration Sys., Inc. v. Robinson, No. CV 13-7142 PSG ASX, 2015 WL 993319, at
                                                                                     7 *1 (C.D. Cal. Feb. 27, 2015), aff'd, 671 F. App’x 562 (9th Cir. 2016); see Request for
                                                                                     8 Judicial Notice (“RJN”), filed concurrently, at Ex. A for a copy of the Central District
                                                                                     9 Court’s decision in the Robinson Federal Action.          The Robinsons had, despite
                                                                                    10 knowledge of MERS’ claim against their title as designated beneficiary and nominee
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 on the Robinson Deed of Trust, intentionally omitted MERS from their quiet title action
                                                                                    12 and named only the original lender. Id. The Superior Court granted default judgment
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                                                                                    13 for the Robinsons and entered an order that purportedly voided the Robinson Deed of
                                                                                    14 Trust. Id.
                                                                                    15        On September 26, 2013, MERS filed the Robinson Federal Action in this Court
                                                                                    16 to, inter alia, set aside the quiet title judgment in the Robinson State Action as void
                                                                                    17 because the Robinsons violated the notice requirements of California Civil Code
                                                                                    18 Section 762.10. Id. at *2. After both parties filed Motions for Summary Judgment, the
                                                                                    19 court ruled in favor of MERS, holding that MERS had an adverse claim, and, therefore,
                                                                                    20 the Robinsons were required to name MERS as a defendant in their quiet title action.
                                                                                    21 Id. at *9.
                                                                                    22        This Court’s holding was based upon the language of the Robinson Deed of Trust,
                                                                                    23 which appoints MERS as ‘the beneficiary under this Security Instrument,” and grants
                                                                                    24 MERS the right, as nominee for Lender and Lender's successors and assigns, to
                                                                                    25 “exercise any or all . . . interests granted under the Deed of Trust, including, but not
                                                                                    26 limited to, the right to foreclose and sell the Property.” Id. at *1 (internal quotations
                                                                                    27 omitted) (quoting the Robinson deed of trust). The district court noted that:
                                                                                    28
                                                                                         Case No.: 2:18-cv-08209-PA-MRW          –4–
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 13 of 26 Page ID #:228



                                                                                     1
                                                                                                “Courts applying California law have regularly held that…deeds of trusts
                                                                                     2          materially identical to the one at issue here authorize MERS to foreclose
                                                                                     3          and sell the subject property. . . see, e.g., Gomes v. Countrywide Home
                                                                                                Loans, Inc., 192 Cal. App. 4th 1149, 1157–58, 121 Cal. Rptr. 3d 819
                                                                                     4          (2011); Pantoja v. Countrywide Home Loans, Inc., 640 F. Supp. 2d 1177,
                                                                                     5          1189 -90 (N.D. Cal. 2009) (collecting cases and noting that ‘courts have
                                                                                                been clear’ that MERS is authorized by these deeds of trust to conduct
                                                                                     6          foreclosure).”
                                                                                     7
                                                                                         Id. at *5.
                                                                                     8
                                                                                                The Ninth Circuit affirmed the District Court’s ruling regarding the Robinson’s
                                                                                     9
                                                                                         Deed of Trust holding that “[t]he deed of trust on the property, which was signed by the
                                                                                    10
                                                                                         Robinsons and properly recorded with the Los Angeles County Recorder's Office,
                 A limited liability partnership formed in the State of Delaware




                                                                                    11
                                                                                         designates MERS as the nominee of the lender and the lender's successors and as the
                                                                                    12
                                                                                         beneficiary under deed of trust.” Mortg. Elec. Registration Sys., Inc. v. Robinson, 671
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                                                                                    13
                                                                                         F. App’x 562, 563 (9th Cir. 2016), cert. denied sub nom. Robinson v. Mortg. Elecs.
                                                                                    14
                                                                                         Registration Sys., Inc., 137 S. Ct. 2164, 198 L. Ed. 2d 233 (2017). See RJN at Ex. A.
                                                                                    15
                                                                                         By executing the deed of trust the Robinsons agreed that MERS had the authority to
                                                                                    16
                                                                                         hold and assign the Robinson Deed of Trust. Id.
                                                                                    17
                                                                                                2.    Cabrera’s Prior Quiet Title Action and Judgment
                                                                                    18
                                                                                                Cabrera filed an identical lawsuit to the Robinson State Action on or about March
                                                                                    19
                                                                                         3, 2014, Cabrera v. GSR Mortgage Loan Trust 2005-AR2, No. KC066701 (Los Angeles
                                                                                    20
                                                                                         Sup. Ct.) (the “Cabrera Action”), in an attempt to expunge the Cabrera Deed of Trust.3
                                                                                    21
                                                                                         Following the Robinsons’ scheme, Cabrera omitted MERS and only named his original
                                                                                    22
                                                                                         lender. The Superior Court granted default judgment for Cabrera and entered an order
                                                                                    23
                                                                                         that purportedly voided the Cabrera Deed of Trust. MERS successfully intervened in
                                                                                    24
                                                                                         the suit and filed a cross-complaint against Cabrera, arguing that MERS’ due process
                                                                                    25
                                                                                         rights were violated by Cabrera’s failure to provide notice of the action to MERS as the
                                                                                    26
                                                                                    27   3 Cabrera was represented by the same counsel as the Robinsons and Plaintiffs are represented
                                                                                         by that same counsel in the instant action.
                                                                                    28
                                                                                         Case No.: 2:18-cv-08209-PA-MRW             –5–
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 14 of 26 Page ID #:229



                                                                                     1 record beneficiary of the Deed of Trust. On January 8, 2018, the Superior Court issued
                                                                                     2 a tentative ruling granting summary judgment to MERS on its complaint to void the
                                                                                     3 prior judgment holding: “CCP § 762.010 plainly requires the plaintiff in a quiet title
                                                                                     4 action to join as defendants all persons of record ‘having adverse claims to the title of
                                                                                     5 the plaintiff.’ MERS claimed an interest as lienholder, beneficiary and nominee … such
                                                                                     6 interest is sufficient to establish a ‘claim’ against Plaintiff’s title.” The tentative order
                                                                                     7 was adopted as final on January 26, 2016. See RJN at Ex. C.
                                                                                     8        3.     Plaintiffs’ Prior Action for Declaratory Judgment
                                                                                     9        Prior to filing the instant action, on or about August 10, 2018, the Robinsons and
                                                                                    10 Cabrera filed a nearly identical complaint in the Superior Court of California, County
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 of Los Angeles, titled Robinson, Daniel W.; Robinson, Darla.; Cabrera, Miguel A.
                                                                                    12 Plaintiff(s) vs. Mortgage Electronic Registration Systems, Inc.; (not MERSCORP
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                                                                                    13 Holdings, Inc. a separate and distinct unrelated entity); and Does 1-25 Defendant(s) at
                                                                                    14 Case No. PC058705 (the “Original Action”). See RJN at Ex. E. On September 21,
                                                                                    15 2018, MERS filed its Notice of Removal removing the Original Action to the United
                                                                                    16 States District Court for the Central District of California. On September 29, 2018,
                                                                                    17 MERS filed a Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6) in the Original
                                                                                    18 Action. Rather than respond, Plaintiffs filed a Notice of Dismissal pursuant to Fed. R.
                                                                                    19 Civ. P. 41(a)(1) on October 9, 2018. On October 10, 2018, The Honorable Percy
                                                                                    20 Anderson, United States District Judge, dismissed the Original Action without
                                                                                    21 prejudice.
                                                                                    22        Plaintiffs filed the Complaint in this action on October 30, 2018. The two
                                                                                    23 complaints are identical save for the fact that the Instant Complaint includes Paragraphs
                                                                                    24 6 and 7, wherein Plaintiffs attempt to fraudulently join United Pacific Mortgage and
                                                                                    25 Universal American Mortgage Company of California, defunct non-entities, and
                                                                                    26 without alleging wrongdoing or damages against these parties in a transparent and futile
                                                                                    27 attempt to deprive this court of diversity jurisdiction. See generally, Compl.; see also
                                                                                    28
                                                                                         Case No.: 2:18-cv-08209-PA-MRW            –6–
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 15 of 26 Page ID #:230



                                                                                     1 generally, (Notice of Removal, March 22, 2019, Docket No. 1).
                                                                                     2         For the same reasons provided in the Original Action and set forth in further detail
                                                                                     3 below, this action should be dismissed pursuant to Federal Rule of Civil Procedure
                                                                                     4 12(b)(6).
                                                                                     5                                III.   LEGAL STANDARD
                                                                                     6         A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) tests the
                                                                                     7 sufficiency of the complaint. Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001).
                                                                                     8 Dismissal is warranted under Rule 12(b)(6) where the complaint lacks a cognizable
                                                                                     9 legal theory, or where it presents a cognizable legal theory yet fails to plead essential
                                                                                    10 facts to support that theory. Neitzke v. Williams, 490 U.S. 319, 326 (1989); Robertson
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 v. Dean Witter Reynolds, Inc., 749 F.2d 530, 533–34 (9th Cir. 1984). The purpose of a
                                                                                    12 Rule 12(b)(6) motion to dismiss is “to allow the court to eliminate actions that are fatally
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                                                                                    13 flawed in their legal premises and destined to fail, and thus spare litigants the burdens
                                                                                    14 of unnecessary pretrial and trial activity.” Advanced Cardiovascular Sys., Inc. v.
                                                                                    15 Scimed Life Sys., Inc., 988 F.2d 1157, 1160 (Fed. Cir. 1993).
                                                                                    16         To survive a motion to dismiss, pleadings must contain more than labels and
                                                                                    17 unsupported conclusions, and conclusory allegations are not entitled to be assumed true.
                                                                                    18 See Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949-52 (2009) (citing Bell Atl. Corp. v.
                                                                                    19 Twombly, 550 U.S. 544, 570 (2007)).           A court is not required to “accept legal
                                                                                    20 conclusions cast in the form of factual allegations if those conclusions cannot
                                                                                    21 reasonably be drawn from the facts alleged.” Clegg v. Cult Awareness Network, 18
                                                                                    22 F.3d 752, 754-55 (9th Cir. 1996).
                                                                                    23         Based upon Plaintiffs’ pleading and judicially noticeable facts, MERS moves to
                                                                                    24 dismiss the Complaint, with prejudice, because (1) res judicata is fatal to all of
                                                                                    25 Plaintiffs’ claims, (2) there is no basis for this Court to enter declaratory relief, and (3)
                                                                                    26 the Complaint fails to state any cognizable cause of action.
                                                                                    27                               IV.     LEGAL ARGUMENT
                                                                                    28
                                                                                         Case No.: 2:18-cv-08209-PA-MRW            –7–
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 16 of 26 Page ID #:231



                                                                                     1 A.     Res Judicata Bars the Entire Complaint
                                                                                     2        Plaintiffs’ efforts to void their respective Deeds of Trust and challenge the
                                                                                     3 enforceability of the Notes secured by the Deeds of Trust because MERS was named
                                                                                     4 as the original beneficiary of both Deeds of Trust have been fully litigated to final
                                                                                     5 conclusion with MERS. RJN Exs. B and C. In this action, Plaintiffs seek to recover
                                                                                     6 against MERS for claims they made or could have made in their prior actions. See id.
                                                                                     7 Because the Robinsons’ claims have already been considered and rejected by the
                                                                                     8 Central District and affirmed by the Ninth Circuit, and because Cabrera’s claims have
                                                                                     9 already been considered and soundly rejected by the Los Angeles Superior Court, the
                                                                                    10 doctrine of res judicata operates for both issue and claim preclusion to bar Plaintiffs’
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 meritless lawsuit against MERS.
                                                                                    12        Issue preclusion, or collateral estoppel, precludes re-litigating issues argued and
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                                                                                    13 decided in prior proceedings. Mycogen Corp. v. Monsanto Co., 28 Cal. 4th 888, 896
                                                                                    14 (2002). Res judicata, or claim preclusion, bars re-litigating a valid, final judgment on
                                                                                    15 the merits in a subsequent lawsuit. Le Para Community Assn. v. Workers’ Comp.
                                                                                    16 Appeals Bd., 110 Cal. App. 4th 1161, 1169 (2003).
                                                                                    17        Res judicata operates to bar the maintenance of a later action if (1) the claim
                                                                                    18 decided in the former action is identical to the claim presented in this action; (2) there
                                                                                    19 was a final judgment on the merits; and (3) the plaintiffs were parties (or in privity to a
                                                                                    20 party) to the prior adjudication. Staniforth v. Judges’ Retirement System, 226 Cal. App.
                                                                                    21 4th 978, 988 (2014) (citing Lynons v. Security Pacific Nat. Bank, 40 Cal App. 4th 1001,
                                                                                    22 1015 (1995)). As explained further below, all of these elements are met in this action.
                                                                                    23        Under California’s version of res judicata, a claim is defined by the “primary
                                                                                    24 right” it seeks to enforce. Crowley v. Katleman, 8 Cal. 4th 666, 681(1994)).
                                                                                    25
                                                                                    26        “[T]he primary right is simply the plaintiff’s right to be free from the
                                                                                              particular injury suffered. It must therefore be distinguished from the legal
                                                                                    27        theory on which liability for the injury is premised; [e]ven where there are
                                                                                    28        multiple legal theories upon which recovery might be predicated, one
                                                                                         Case No.: 2:18-cv-08209-PA-MRW           –8–
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 17 of 26 Page ID #:232



                                                                                     1        injury gives rise to only one claim for relief. The primary right must also
                                                                                     2        be distinguished from the remedy sought: [t]he violation of one primary
                                                                                              right constitutes a single cause of action, though it may entitle the injured
                                                                                     3        party to many forms of relief, and the relief is not to be confounded with
                                                                                     4        the cause of action, one not being determinative of the other.”

                                                                                     5 Id. (internal citations and quotations omitted).
                                                                                     6        Here, the basis of each cause of action herein was previously raised in their prior
                                                                                     7 actions. Specifically, the Robinson Federal Action, considering the Robinson State
                                                                                     8 Action, decided whether MERS was a nominee and beneficiary of the Robinson Deed
                                                                                     9 of Trust and resoundingly decided in MERS’ favor.
                                                                                    10        For example, the Central District held:
                 A limited liability partnership formed in the State of Delaware




                                                                                    11
                                                                                                     “First, MERS is clearly named a nominee in the Deed of
                                                                                    12               Trust…In the context of a nominee on a deed of trust, this
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                                                                                    13               implies that the nominee is granted authority as an agent to
                                                                                                     act on behalf of the Lender as to administration of the deed of
                                                                                    14               trust. Second, in analyzing deeds of trust materially similar
                                                                                    15               to the one at issue in this litigation, both this Court and
                                                                                                     California courts have held that MERS status as beneficiary
                                                                                    16               “was not a matter of fact existing apart from the document
                                                                                    17               itself.” See Fontenot v. Wells Fargo Bank, N.A., 198
                                                                                                     Cal.App.4th 256, 266, (1st. Dist.2011) (considering a deed of
                                                                                    18               trust identical in all material respects to the one at issue here
                                                                                    19               and concluding that “MERS was the beneficiary under the
                                                                                                     deed of trust because, as a legally operative document, the
                                                                                    20               deed of trust designated MERS as the beneficiary. Given this
                                                                                    21               designation, MERS's status was not reasonably subject to
                                                                                                     dispute.”).”
                                                                                    22
                                                                                    23 Mortg. Elec. Registration Sys., Inc. v. Robinson, No. CV 13-7142 PSG
                                                                                       ASX, 2015 WL 993319, at *6 (C.D. Cal. Feb. 27, 2015), aff'd, 671 F.
                                                                                    24 App'x 562 (9th Cir. 2016).
                                                                                    25       Furthermore, the Cabrera Action sought to expunge the Cabrera Deed of Trust
                                                                                    26 by, identical to the Robinsons State Action’s scheme, omitting MERS and only naming
                                                                                    27 their original lender. MERS successfully intervened in the suit and filed a cross-
                                                                                    28
                                                                                         Case No.: 2:18-cv-08209-PA-MRW           –9–
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 18 of 26 Page ID #:233



                                                                                     1 complaint against Cabrera, arguing that MERS’ due process rights were violated by
                                                                                     2 Plaintiff’s failure to provide notice of the prior quiet title action to MERS as the record
                                                                                     3 beneficiary of the Cabrera Deed of Trust.
                                                                                     4        Plaintiffs have simply refiled their previous Complaints, and styling “new”
                                                                                     5 causes of action which arise from the very same “primary right” as all the others; namely
                                                                                     6 the MERS’ status and rights under the Deeds of Trust. This action is duplicative of the
                                                                                     7 claims previously litigated in the prior Actions. Plaintiffs’ Instant Complaint asserts
                                                                                     8 two causes of action for declaratory relief, both of which are claims repeated from their
                                                                                     9 previously adjudicated actions in an attempt to rehash the same “primary right” that the
                                                                                    10 Central District, Ninth Circuit and the Los Angeles Superior Court have already
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 previously adjudicated and dismissed with final decisions on the merits. See generally
                                                                                    12 RJN, Exs. A, B, and C.
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                                                                                    13        The dismissals with prejudice by the District Court, Ninth Circuit and Los
                                                                                    14 Angeles Superior Court are final determinations on the merits. See Stites v. Ross, 862
                                                                                    15 F.2d 875 (9th Cir. 1988) (holding “Unpublished decisions in California have no
                                                                                    16 precedential value; however, may be used to apply the doctrines of res judicata,
                                                                                    17 collateral estoppel, and law of the case.”). See Franklin v. U.S. Dep’t of Labor, No. C
                                                                                    18 00-3190 SI, 2001 WL 793284, at *3 (N.D. Cal. July 9, 2001) (holding the ruling was
                                                                                    19 affirmed on appeal by the Ninth Circuit and constitutes a final judgment for res judicata
                                                                                    20 purposes.). Further, MERS is a party to this case as well as the 2013 case with the
                                                                                    21 Robinsons, and the 2014 action with Cabrera. Accordingly, this matter should be
                                                                                    22 dismissed under the doctrine of claim preclusion. Since Plaintiffs’ current complaint,
                                                                                    23 just as set forth in their prior Complaints, seeks the same “primary right” - to prevent
                                                                                    24 MERS from holding or assigning their Deeds of Trust, thus making the Deeds of Trust
                                                                                    25 unenforceable, their entire Instant Complaint is barred by res judicata and should be
                                                                                    26 dismissed. The underlying allegations were raised and these declaratory relief causes
                                                                                    27 of action could have and should have been raised in their prior 2012, and 2014 actions.
                                                                                    28
                                                                                         Case No.: 2:18-cv-08209-PA-MRW          – 10 –
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 19 of 26 Page ID #:234



                                                                                     1         Plaintiffs – dissatisfied with the outcome of their prior lawsuits –attempt to re-
                                                                                     2 litigate the same claims against the same party that have already been decided against
                                                                                     3 them. This is the exact kind of meritless, dilatory, and wasteful action that res judicata
                                                                                     4 seeks to prevent. Accordingly, Plaintiffs’ entire complaint is barred by the doctrine of
                                                                                     5 res judicata and should, therefore, be dismissed with prejudice.
                                                                                     6 B.      Plaintiffs’ Claims Fail to Support Declaratory Relief
                                                                                     7         Plaintiffs are not entitled to declaratory relief. Code of Civil Procedure § 1060
                                                                                     8 permits actions for declaratory relief only where there exists an “actual controversy
                                                                                     9 relating to the legal rights and duties of the respective parties.” Code Civ. Proc., § 1060.
                                                                                    10 A claim for declaratory relief fails because it is not a cause of action in and of itself.
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 Kimball v. Flagstar Bank F.S.B., 881 F. Supp. 2d 1209, 1219-21 (S.D. Cal. 2012).
                                                                                    12 (holding a substantive cause of action is necessary for a court to grant declaratory relief
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                                                                                    13 because declaratory relief is not an independent cause of action). See also Lane v. Vitek
                                                                                    14 Real Estate Industries Group, 713 F. Supp. 2d. 1092, 1104 (E.D. Ca. 2010) (holding
                                                                                    15 because declaratory relief is not a cause of action in and of itself, the court must dismiss
                                                                                    16 Plaintiff’s cause of action for declaratory relief against MERS). Declaratory relief is
                                                                                    17 only available when there is “a substantial controversy, between parties having adverse
                                                                                    18 legal interests, of sufficient immediacy and reality to warrant the issuance of a
                                                                                    19 declaratory judgment.” Principal Life Ins. Co. v. Robinson, 394 F.3d 665, 671 (9th Cir.
                                                                                    20 2005). Courts have found “substantial controversy” to mean that the “plaintiff has a
                                                                                    21 real and reasonable apprehension that he will be subject [to suit].” E & J Gallo Winery
                                                                                    22 v. Proximo Spirits, Inc., 583 Fed. Appx. 632, 634 (9th Cir. 2014). Courts emphasize
                                                                                    23 that the “fundamental basis of declaratory relief is the existence of an actual, present
                                                                                    24 controversy over a proper subject.” City of Cotati v. Cashman, 29 Cal. 4th 69, 79
                                                                                    25 (2002).
                                                                                    26         Here, Plaintiffs fail to plead a single fact showing an actual controversy. See
                                                                                    27 generally Compl. Plaintiffs seek judicial determination in the form of requests that the
                                                                                    28
                                                                                         Case No.: 2:18-cv-08209-PA-MRW           – 11 –
                                                                                            DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                            MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 20 of 26 Page ID #:235



                                                                                     1 Court enter Declaratory Judgment as to whether MERS is a beneficiary or nominee
                                                                                     2 under the subject Deeds of Trust. Compl., ¶¶ 12-14, 25-34. As discussed above, these
                                                                                     3 issues have been decided previously. Moreover, the Robinsons’ Deed of Trust was
                                                                                     4 released of record on or about August 2, 2018, in the Los Angeles County Recorder’s
                                                                                     5 office as Instrument number 15612362. RJN Ex. D. Thus, the Robinsons’ Deed of
                                                                                     6 Trust has been reconveyed and no longer is an encumbrance on the Robinson Property.
                                                                                     7 Consequently, this Court cannot make any judicial determination on a nullified
                                                                                     8 document. Further, when an event occurs that prevents the court from granting effective
                                                                                     9 relief, the claim is moot and must be dismissed. Am. Rivers v. Nat'l Marine Fisheries
                                                                                    10 Serv., 126 F.3d 1118, 1123 (9th Cir. 1997), as amended (Sept. 16, 1997).
                 A limited liability partnership formed in the State of Delaware




                                                                                    11        Moreover, although unclear, Plaintiffs seem to take issue with the plain language
                                                                                    12 of the Deeds of Trusts. Plaintiffs’ vague conclusions and theories fail to meet the
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                                                                                    13 Twombly standard, of alerting MERS what the factual allegations are and what legal
                                                                                    14 authority supports thier claims. Twombly, 550 U.S. at 545. For example, Plaintiffs
                                                                                    15 merely conclude that the Deeds of Trust are “false and untrue” and MERS relied on
                                                                                    16 “fabricated, meritless and self-serving position that they possess “Bare legal title’” and
                                                                                    17 therefore seek a declaratory judgment of relief judicially declaring that MERS is not a
                                                                                    18 beneficiary or nominee under the Deeds of Trust. Compl. ¶¶ 8, 17, 28, 34. It is unclear
                                                                                    19 why Plaintiffs seek this relief. Plaintiffs do not allege that their loans are in default
                                                                                    20 (indeed, the Robinsons have fully performed their obligations), and there are no
                                                                                    21 allegations that a foreclosure is pending - moreover, because of the reconveyance, the
                                                                                    22 Robinson Deed of Trust cannot be foreclosed because it no longer encumbers the
                                                                                    23 Robinson Property. See generally Compl. Therefore, it is unclear what substantial
                                                                                    24 controversy could possibly exist that could entitle Plaintiffs the Declaratory Relief they
                                                                                    25 seek here. Thus, the relief Plaintiffs seek relative to MERS’ status as a beneficiary or
                                                                                    26 nominee is not ripe for review. See Principal Life Ins. Co. at 671 (there must be a
                                                                                    27 substantial controversy for the court to consider a declaratory judgment). Because
                                                                                    28
                                                                                         Case No.: 2:18-cv-08209-PA-MRW          – 12 –
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 21 of 26 Page ID #:236



                                                                                     1 Plaintiffs do not allege a controversy, Plaintiffs’ declaratory relief claim fails as a matter
                                                                                     2 of law, and should be dismissed with prejudice for this reason alone.
                                                                                     3         Moreover, to the extent that Cabrera brought this lawsuit to challenge MERS’
                                                                                     4 standing or ability to hold or assign the Cabrera Deed of Trust, California's non-judicial
                                                                                     5 foreclosure scheme simply does not “provide for a judicial action to determine whether
                                                                                     6 the person initiating the foreclosure is indeed authorized” to do so.              Gomes v.
                                                                                     7 Countrywide Home Loans, Inc., 192 Cal. App. 4th 1149, 1155 (2011).
                                                                                     8         In Gomes, a borrower sought declaratory relief from the court as to whether the
                                                                                     9 nominee beneficiary under his deed of trust, was entitled to foreclose. Id. at 822. The
                                                                                    10 court held that California's exhaustive nonjudicial foreclosure scheme, Civil Code
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 Sections 2924-2924i, does not “provide for a judicial action to determine whether the
                                                                                    12 person initiating the foreclosure is indeed authorized” to do so. Id. at 824. It also held
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                                                                                    13 that the borrower expressly gave the defendants the authority to foreclose in the deed
                                                                                    14 of trust, and thus was prohibited from challenging foreclosure on that basis as well. Id.
                                                                                    15 at 827. Because Plaintiffs’ request for declaratory relief seems to question MERS’
                                                                                    16 authority to hold and assign the Deeds of Trust, there is no actual controversy and this
                                                                                    17 claim should be dismissed. See Robinson v. Countrywide Home Loans, Inc., 199 Cal.
                                                                                    18 App. 4th 42, 46 (2011) (“We agree with the Gomes court that the statutory scheme (§§
                                                                                    19 2924–2924k) does not provide for a preemptive suit challenging standing.
                                                                                    20 Consequently, plaintiffs’ claims for damages for wrongful initiation of foreclosure and
                                                                                    21 for declaratory relief based on plaintiffs’ interpretation of section 2924, subdivision (a),
                                                                                    22 do not state a cause of action as a matter of law.”).
                                                                                    23         Therefore, because Plaintiffs fail to allege an actual controversy relating to the
                                                                                    24 legal rights and duties of the respective parties, Plaintiffs are not entitled to declaratory
                                                                                    25 relief and the instant action should be dismissed as a matter of law and should be
                                                                                    26 dismissed with prejudice.
                                                                                    27
                                                                                    28
                                                                                         Case No.: 2:18-cv-08209-PA-MRW            – 13 –
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 22 of 26 Page ID #:237



                                                                                     1 C.      California Law Is Clear that MERS Is the Beneficiary and Nominee Under
                                                                                     2         Both Deeds of Trust
                                                                                     3         The Central District has already rejected the Robinsons’ attempt to challenge
                                                                                     4 MERS’ beneficiary status because California law “flatly rejects it.” Mortg. Elec.
                                                                                     5 Registration Sys. v. Robinson, 45 F. Supp. 3d 1207, 1212 (C.D. Cal. 2014). The leading
                                                                                     6 case, cited by that court, is Fontenot v. Wells Fargo Bank, N.A., 198 Cal. App. 4th 256,
                                                                                     7 268 (1st Dist. 2011), disapproved of on other grounds in Yvanova v. New Century
                                                                                     8 Mortgage Corp., 365 P.3d 845, 199 Cal. Rptr. 3d 66 (2016).4 The borrower challenged
                                                                                     9 MERS’ authority under the deed of trust. The trial court sustained the demurrers
                                                                                    10 without leave to amend, and the court of appeals affirmed:
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                                                                                    11         “. . . MERS is designated as the beneficiary in deeds of trust, acting as
                                                                                               “nominee” for the lender…
                                                                                    12
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                                                                                    13         . . . MERS is the beneficiary, acting as a nominee for the lender. There is
                                                                                               nothing inconsistent in MERS’ being designated both as the beneficiary
                                                                                    14
                                                                                               and as a nominee, i.e., agent, for the lender. The legal implication of the
                                                                                    15         designation is that MERS may exercise the rights and obligations of a
                                                                                               beneficiary of the deed of trust.”
                                                                                    16
                                                                                    17 198 Cal. App. 4th at 266, 267, 269, 273.
                                                                                    18         The Ninth Circuit has reached the same conclusion. See e.g., Benson v. Ocwen
                                                                                    19 Loan Servicing, LLC, 562 F. App’x 567, 570 (9th Cir. 2014) (MERS “had the authority
                                                                                    20 to substitute Western Progressive as the trustee because MERS was the beneficiary on
                                                                                    21 the deed of trust, . . . and was HSBC’s nominee”). So have all the other courts in
                                                                                    22 California to address the issue. See Hollins v. Recontrust, N.A., No. CV 11-945 PSG
                                                                                    23 PLAX, 2011 WL 1743291 (C.D. Cal. May 1, 2011) at *3, and cases there cited (“where
                                                                                    24 4 In Yvanova, 365 P.3d 845, the California Supreme Court disapproved of Fontenot and similar
                                                                                    25 cases to “the extent they held borrowers lack standing to challenge an assignment of the deed
                                                                                         of trust as void” in a wrongful foreclosure action. Id. at 859 n.13. This is not a wrongful
                                                                                    26 foreclosure action. Yvanova does not undermine the portions of Fontenot or other cited cases
                                                                                    27 relevant to this case. See Saterbak v. JP Morgan Chase Bank, N.A., 245 Cal. App. 4th 808,
                                                                                       815(2016)(affirming that Yvanova does not overrule established California law upholding
                                                                                    28 MERS’ right to hold California deeds of trust and exercise the rights granted to it thereunder).
                                                                                         Case No.: 2:18-cv-08209-PA-MRW             – 14 –
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 23 of 26 Page ID #:238



                                                                                     1 MERS acts as a beneficiary under a deed of trust, it has the right to assign its interest”);
                                                                                     2 E.g., Siliga v. Mortgage Elec. Registration Sys., Inc., 219 Cal. App. 4th 75, 83 (2d Dist.
                                                                                     3 2013), disapproved of on other grounds in Yvanova, 365 P.3d 845.
                                                                                     4        Here, as set forth above, Plaintiffs each signed their Deeds of Trust and agreed
                                                                                     5 that MERS was the original beneficiary, and nominee for the original lender and its
                                                                                     6 successors and assigns, under the Deeds of Trust. Consequently, Plaintiffs agreed to
                                                                                     7 MERS’ designation as beneficiary when they signed their Deeds of Trust and agreed to
                                                                                     8 all rights granted to MERS thereunder. See Compl. Exh. A, C, ¶¶ 23, 25. Plaintiffs’
                                                                                     9 claims fail because it is well settled that MERS was the beneficiary of the Robinson
                                                                                    10 Deed of Trust and is the beneficiary under the Cabrera Deed of Trust and has authority
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 to hold or assign its interest under California law. See Gomes v. Countrywide Home
                                                                                    12 Loans, Inc., 121 Cal. Rptr. 3d 819, 826 (2011), pet. for review denied, No. S191816,
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                                                                                    13 2011 Cal. LEXIS 5306 (May 18, 2011), cert. denied, 565 U.S. 959 (2011); see also
                                                                                    14 Calvo v. HSBC Bank USA, N.A., 130 Cal. Rptr. 3d 815, 821 (Cal. Ct. App. 2011), pet.
                                                                                    15 for review denied, No. S197440, 2012 Cal. LEXIS 42 (Jan. 4, 2012); id. (“MERS was
                                                                                    16 both the nominal beneficiary and agent (nominee)...”; Siliga v. Mortgage Elec.
                                                                                    17 Registration Sys, Inc., 219, Cal. App. 4th 75,161 (Cal. Ct. App. 2013) (holding that a
                                                                                    18 trustor that agreed that MERS has the authority to exercise all of the rights of the lender
                                                                                    19 is precluded from asserting a cause of action based on allegation that MERS has no
                                                                                    20 authority to exercise those rights). Courts have long agreed that MERS is a valid
                                                                                    21 beneficiary. See Lane v. Vitek Real Estate Industries Group, 713 F. Supp. 2d 1092
                                                                                    22 (E.D. Cal. 2010) (“MERS … may assign its beneficial interest to another party.”);
                                                                                    23 Gomes at 826 (MERS has the authority to foreclose on deed of trust). Zadrozny v. Bank
                                                                                    24 of New York Mellon, 720 F.3d 1163, 1169 (9th Cir. 2013) (MERS may serve as a
                                                                                    25 beneficiary).
                                                                                    26        MERS’ status and rights under a California deed of trust are a matter of state
                                                                                    27 substantive law, and this Court must enforce the California courts’ recognition of those
                                                                                    28
                                                                                         Case No.: 2:18-cv-08209-PA-MRW           – 15 –
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 24 of 26 Page ID #:239



                                                                                     1 rights. Erie R. Co. v. Tompkins, 304 U.S. 64, 71-79 (1938). Plaintiffs cannot dispute
                                                                                     2 MERS’ status as a beneficiary and nominee. Gomes, 192 Cal. App. 4th 1157 at n.9
                                                                                     3 (holding the deed of trust permits MERS to act as a nominee (i.e. agent) of the
                                                                                     4 noteholder.) (citing Cal. Civ. Code § 2924).
                                                                                     5        Plaintiffs seek a judicial determination contrary to well-settled California law.
                                                                                     6 Accordingly, Plaintiffs’ declaratory relief claims fail as a matter of law, and should be
                                                                                     7 dismissed with prejudice.
                                                                                     8 D.     This Court Should Dismiss This Case Based on the Deeds of Trust Alone
                                                                                     9        The plain language of the Deeds of Trust alone provides the basis for judgment
                                                                                    10 in favor of MERS. MERS’ claim is evident from the face of that these documents,
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                                                                                    11 which were recorded in the Los Angeles County land records. See Compl., Exs. A, and
                                                                                    12 C, ¶¶ 3, 4, 20, 23. In Fontenot, the court of appeals approved the trial court’s judicial
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                                                                                    13 notice of MERS’ role as beneficiary because MERS’ “status was not a matter of fact
                                                                                    14 existing apart from the document itself.” Fontenot v. Wells Fargo Bank, N.A., 198 Cal.
                                                                                    15 App. 4th 256, 268 (1st Dist. 2011), disapproved of on other grounds in Yvanova v. New
                                                                                    16 Century Mortgage Corp., 365 P.3d 845, at 266 (2016). MERS was the beneficiary under
                                                                                    17 the deed of trust because, as a legally operative document, the deed of trust designated
                                                                                    18 MERS as the beneficiary. Given this designation, MERS’ status was not reasonably
                                                                                    19 subject to dispute. Id.
                                                                                    20        Moreover, as the borrowers who signed the Deeds of Trust, Plaintiffs cannot
                                                                                    21 dispute the authority granted in that document. See Compl., Exs. A and C, ¶¶ 3-4, 20,
                                                                                    22 23. California courts routinely and soundly reject such challenges. In Cervantes,
                                                                                    23 borrowers brought various challenges to MERS’ deeds of trust. They alleged that
                                                                                    24 MERS was not a proper beneficiary because it had no financial interest in the loan.
                                                                                    25 Cervantes v. Countrywide Home Loans, Inc., 656 F.3d 1034, 1042 (9th Cir. 2011).
                                                                                    26 Affirming dismissal, the Ninth Circuit held that the deeds of trust constituted plaintiffs’
                                                                                    27 agreement that MERS was the beneficiary, and the nominee for the lender and lenders’
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                                                                                         Case No.: 2:18-cv-08209-PA-MRW          – 16 –
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 25 of 26 Page ID #:240



                                                                                     1 successors and assigns, and that MERS was authorized to exercise all rights granted
                                                                                     2 under the deed of trust. Id.
                                                                                     3        The California courts are in accord. See e.g., Siliga, 219 Cal. App. 4th at 83
                                                                                     4 (party who “agreed under the terms of the deed of trust that MERS, as the lender’s
                                                                                     5 nominee, has the authority to exercise all of the rights and interests of the lender,
                                                                                     6 including the right to foreclose, is precluded from maintaining a cause of action based
                                                                                     7 on the allegation that MERS has no authority to exercise those rights.”); Gomes, 192
                                                                                     8 Cal. App. 4th at 1157.
                                                                                     9        Plaintiffs seek declaratory relief contrary to the plain language of their Deeds of
                                                                                    10 Trust and accordingly their claims for declaratory relief should be dismissed with
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                                                                                    11 prejudice.
                                                                                    12                                  V.    CONCLUSION
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                                                                                    13        Plaintiffs have misused the judicial system to attempt to get a free house and
                                                                                    14 avoid paying their mortgage loans. California law, of course, recognizes no such
                                                                                    15 windfall. Plaintiff have repeatedly brought meritless allegations against MERS despite
                                                                                    16 other courts already finding that Plaintiffs’ legal theory fails. MERS has been forced to
                                                                                    17 expend considerable time and monies litigating and protecting its interest against
                                                                                    18 baseless allegations.    This cannot continue.      For the foregoing reasons, MERS
                                                                                    19 respectfully requests that this Court grant its motion to dismiss with prejudice.
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                                                                                         Case No.: 2:18-cv-08209-PA-MRW          – 17 –
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                   Case 2:19-cv-02185-PSG-AS Document 8 Filed 03/29/19 Page 26 of 26 Page ID #:241



                                                                                     1 DATED: March 29, 2019                        REED SMITH LLP
                                                                                     2
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                                                                                                                                    Attorneys for Defendant Mortgage
                                                                                     6                                              Electronic Registration Systems, Inc.
                                                                                     7
                                                                                     8
                                                                                                                  CERTIFICATE OF SERVICE
                                                                                     9
                                                                                             I certify that on March 29, 2019, I filed the foregoing document electronically
                                                                                    10 through the CM/ECF system, and served the following counsel of record via e-mail:
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                                                                                         Case No.: 2:18-cv-08209-PA-MRW         – 18 –
                                                                                           DEFENDANT’S NOTICE OF MOTION, MOTION TO DISMISS PLAINTIFFS’ COMPLAINT; AND
                                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
